848 F.2d 1244
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Jewel ALT, Petitioner,v.DEPARTMENT OF the TREASURY, Respondent.
    No. 88-3115.
    United States Court of Appeals, Federal Circuit.
    May 10, 1988.
    
      Before ARCHER, MAYER and MICHEL, Circuit Judges.
      PER CURIAM.
    
    
      1
      The decision of the Merit Systems Protection Board, Docket No. DA07528710356, dismissing petitioner's appeal for lack of jurisdiction, is affirmed on the basis of the administrative judge's initial decision dated July 29, 1987.
    
    